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                                                                                      Matthew A. Kezhaya <matt@kezhaya.law>



  Cave v. Thurston, 2nd Supplemental Disclosures, 2 of 3
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    Part 2 of 3




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    Subject: Cave v. Thurston, 2nd Supplemental Disclosures, 1 of 3



    Counsel,



    Good evening. Attached please find part 1 of 3 of Defendant’s second supplemental disclosures in Cave v. Thurston.



    Regards,



    Michael A. Cantrell

    Assistant Solicitor General

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